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 8                         UNITED STATES DISTRICT COURT

 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                           February 2017 Grand Jury

11   UNITED STATES OF AMERICA,            CR No. 15-00704(A)-SJO

12                    Plaintiff,          F I R S T
                                          S U P E R S E D I N G
13                    v•                  I N D I C T M E N T

14   RAMI NAJM ASAD-GHANEM,               [18 U.S.C. ~ 371: Conspiracy;
       aka "Rami Ghanem,"                 22 U.S.C. ~~ 2778(b)(1)(A)(ii),
15                                        (c), and 22 C.F.R. ~~ 126.1,
                      Defendant.          127.1(b)(2) Arms Export
16                                        Control Act; 18 U.S.C. ~ 23328:
                                          Missile Systems Designed to
17                                        Destroy Aircraft]

18

19        The Grand Jury charges:
                            INTRODUCTORY ALLEGATIONS
20
          At all times relevant to this Indictment:
21

22   ~.   DEFENDANT

23        1.    Defendant RAMI NAJM ASAD-GHANEM, also known as ("aka")

24   `Rami Ghanem" ("defendant GHANEM"), was a citizen of the United

25
     States.
26

27

28
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 1   B.   THE STATUTES AND REGULATIONS

 2        2.    The Arms Export Control Act, Title 22, United States

 3   Code, Section 2778 ("AECA"), as amended, authorized the
 4
     President of the United States to control the import and export
 5
     of "defense articles" and "defense services."
 6
          3.    The AECA also gave the President the authority to
 7
 8   designate articles and services deemed to be defense articles

 g   and services subject to export control.        That statutory

10   authority was delegated to the U.S. Secretary of State.           By

11   virtue of delegations of authority by the Secretary of State,
12
     the implementing regulations, the International Traffic in Arms
13
     Regulations, 22 C.F.R. §~ 120-130 (the "ITAR"), were
14
     administered by the Deputy Assistant Secretary of State for
15
     Defense Trade Controls, Bureau of Political-Military Affairs.
16
l~   The Deputy Assistant Secretary of State for Defense Trade

18   Controls supervised the Directorate of Defense Trade Controls

19   ("DDTC"), which had responsibilities relating to licensing,
20
     other approvals of defense trade, and violations of law or
21
     regulation and compliance.
22
          4.    The ITAR contained a list of defense articles and
23
     defense services subject to control by these regulations.           This
24

25   list was called the United States Munitions List ("USML"), Title

26   22, Code of Federal Regulations, Section 121.1.         Designations of

27   defense articles and defense services to the USML were made by

28   the United States Department of State ("Department of State")

                                          2
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 1   with the concurrence of the United States Department of Defense

 2   ("Department of Defense")       (22 U.S.C. § 2778(a)(1); 22 C.F.R.

 3
     § 120.2.)
 4
     C.   DEFINITIONS
 5
          5.     "Defense article" meant any item or technical data
 6
     designated on the USML.     (22 C.F.R. ~ 120.6.)
 7
          6.     "Defense service" meant:
 8

 9               a.   The furnishing of assistance, including training,

10 I to foreign persons, whether in the United States or abroad, in

11   the design, development, engineering, manufacture, production,
12
     assembly, testing, repair, maintenance, modification, operation,
13
     demilitarization, destruction, processing, and use of defense
14
     articles;
15
                 b.   The furnishing to foreign persons of any
16

17   technical data controlled by the ITAR; and

18               c.   Military training of foreign units and forces,

19   regular and irregular, including formal or informal instruction

20
     of foreign persons by correspondence courses, technical,
21
     educational, or information publications and media of all kinds,
22
     training aid, orientation, training exercise, and military
23
     advice.   (22 C.F.R. ~ 120.9.)
24
          7.     The terms "defense article" and "defense service"
25

26   referred to both U.S-origin and foreign-origin defense articles

27   and defense services described on the USML.         (22 C.F.R.

28   ~ 120.44.)

                                         3
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 1         8.     "Foreign defense article" meant any article described

 2    on the USML of non-U.S. origin.         (22 C.F.R. ~ 120.44.)
 3i
           9.     "Foreign defense service" meant any service described
 4
      on the USML of non-U.S. origin.         (22 C.F.R. ~ 120.44.)
 5
           10.    "Brokering activities" meant any action on behalf of
 6
      another to facilitate the manufacture, export, permanent import,
 7

 8    transfer, re-export, re-transfer, or furnishing of a U.S. or

 9    foreign defense article or U.S. or foreign defense service,

10    regardless of its origin.      (22 C.F.R. ~ 129.2.)

11         11.    A "broker" meant any person (including a natural
12
      person, corporation, business association, partnership, society,
13
      trust, or any other entity, organization, or group) engaged in
14
      the business of brokering activities and who was: a) a U.S.
15
      person, wherever located; b) a foreign person located in the
16

17    United States; or c) a foreign person located outside the United

18    States where the foreign person is owned or controlled by a U.S.

19    person.    (22 C.F.R. ~ 129.2.)

20
           12.   "U.S. person" meant a person (including natural
21
      persons, corporations, business associations, partnerships, and
22
      other entities) who was a citizen, national, or lawful permanent
23
      resident of the United States.      (22 C.F.R. ~ 120.15.)
24
           RELEVANT USML CATEGORIES
25 ~ D.

26         13.   Category I of the USML included firearms, close

27    assault weapons, and combat shotguns.        (22 C.F.R. ~ 121.1.)

28

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 1         14.     Category II of the USML included guns and armaments.

 2   (22 C.F.R. § 121.1.)
 3
           15.     Category III of the USML included ammunition/ordnance.
 4
     (22 C.F.R. ~ 121.1.)      Subsection (a) of Category III of the USML
 5
     included ammunition/ordnance for the articles in Categories I
 6
     h and II of the USML.    (22 C.F.R. ~ 121.1.)
 7

 8         16.     Category IV of the USML included launch vehicles,

 9   guided missiles, ballistic missiles, rockets, torpedoes, bombs,

10 h and mines.      (22 C.F.R. § 121.1.)

11         17.     Category VII of the USML included ground vehicles and
12
     certain parts therefor.      (22 C.F.R. § 121.1.)
13
           18.     Category VIII of the USML included aircraft and
14
     related articles and certain parts therefor.          (22 C.F.R.
15
     ~ ~ 121.1.)
16

17         19.     Category IX of the USML included military training

18   equipment and training.      Subcategory (e) of Category IX of the

19   USML included defense services. (22 C.F.R. ~ 121.1.)

20
           20.     Category XII of the USML included fire control, range
21
     finder, optical and guidance control equipment, such as image
22
     intensification tubes, and included certain components, parts,
23
     accessories, attachments, and associated equipment related to
24
     the same.      (22 C.F.R. § 121.1.)
25

26         21.     The following defense articles and defense services,

27   among others, were designated on the USML:

28

                                           5
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 1                 Commodit                                Controls
      12.7-millimeter NSVT machine       uns                USML I
 2
      7.62-millimeter AKS assault rifles                    USML I
 3    7.62-millimeter AKM assault rifles                    USML I
      7.62-millimeter PKM medium machine
 4     uns                                                  USML I
 5    7.62-millimeter SVD sni er rifles                     USML I
      Sni er rifles                                         USML I
 6                                                          USML I
      CZ-999   istols 9-millimeter      istols
 7    Glock 9-millimeter      istols                        USML I
      AK-47 assault rifles                                  USML I
 8
      Dra onov sni er rifles                                USML I
 9    14.5-millimeter KPVT machine       uns               USML II
      60-millimeter mortar shells                          USML III
10
      81-millimeter mortar shells                          USML III
11    120-millimeter mortar shells                         USML III
      7.62 x 39-millimeter ammunition                      USML III
12
      Ammunition                                           USML III
13    23-millimeter ammunition                             USML III
      Zsu-23-2 23-millimeter ammunition                    USML III
14
      5.56 x 45-millimeter ammunition                      USML III
15    BS-41 14.5-millimeter ammunition                     USML III
      9 x 19-millimeter ammunition                         USML III
16
      Zsu-57-2 57-millimeter anti-
      aircraft ammunition                                  USML III
17
      M51 37-millimeter anti-aircraft
      armor- iercin ca ed trace                            USML III
18
      7.62 x 39-millimeter ammunition                      USML III
19    7.62 x 54-millimeter ammunition                      USML III
      7.62 x 54-millimeter BKC ammunition                  USML III
20
      12.7 x 108-millimeter ammunition                     USML III
21    Dishka 127 x 108-millimeter
      ammunition                                           USML III
22    14.5 x 114-millimeter ammunition                     USML III

23    23 x 152-millimeter ammunition                       USML III
      D20 152-millimeter tank rounds                       USML III
24    M48 76-millimeter tank rounds                        USML III
      D30 122-millimeter towed howitzer
25    heat tank rounds                                     USML III
26    12.7 x 108-millimeter ammunition                     USML III
      RPG-7 anti-tank rocket-propelled
27     renade launcher                                     USML IV
      Kornet anti-tank guided missile
28    launchers                                            USML IV


                                          C~
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 1                Commodit                                 Controls

 2    Kornet anti-tank uided missiles                      USML IV
      Igla 9K38 surface-to-air missile
 3    launchers                                            USML IV
      I la 9K38 surface-to-air missiles                    USML IV
 4    MI-24 rocket launchers                               USML IV

 5    57-millimeter rockets                                USML IV
      80-millimeter rockets                                USML IV
 6                                                         USML IV
      122-millimeter S-13T rockets
 7    122-millimeter 5-13 OF rockets                       USML IV
      130-millimeter rockets                               USML IV
 8
      240-millimeter rockets                               USML IV
 9    GRAD 122-millimeter rockets                          USML IV
      122-millimeter GRAD rocket launcher                  USML IV
10
      107-millimeter GRAD rocket launcher                  USML IV
11    RPG-7 HEAT rounds                                    USML IV
      AT-2 Swatter    uided missiles                       USML IV
12
      AT-6 S iral missiles                                 USML IV
13    Konkurs anti-tank missile launchers                  USML IV
      Konkurs anti-tank missiles                           USML IV
14    AGS-17 30-millimeter grenade
      launchers                                            USML IV
15
      Anti-tank    renade launchers RPG-7                  USML IV
16    Anti-tank renades PG-7V                              USML IV
      Fagot 9K111 anti-tank guided
17    missile launchers                                    USML IV
      Fagot 9M111 anti-tank guided
18    missiles                                             USML IV
      M70 Osa 90-millimeter anti-tank
19     uided missile launchers                             USML IV
      M79 Osa 90-millimeter anti-tank
20     uided missile launchers                             USML IV
      9M133 Kornet (Konkurs) anti-tank
21    guided missile launchers including
      tri ods and thermal si hts                           USML IV
22    9M133 Kornet (Konkurs) anti-tank
       uided missiles                                      USML IV
23    85-millimeter RPG-7 anti-tank
      launcher includin telesco is si ht                   USML IV
24
      PG-7VL 85-millimeter HEAT
       ro~ectiles                                          USML IV
25
      SKIF anti-tank guided missile
      launchers                                            USML IV
26
      SKIF anti-tank uided missiles                        USML IV
27    Strela surface-to-air missile
      launchers                                            USML IV
28    Strela surface-to-air missiles                       USML IV

                                         7
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 1              Commodit                                   Controls
      M79 Osa RBR 90-millimeter anti-tank
 2     uided rocket launchers                              USML IV
      M79 Osa RBR 90-millimeter anti-tank
 3     uided rockets                                       USML IV
      M79 Osa RBR 90-millimeter anti-tank
 4     uided rocket tubes                                  USML IV
      9M151 Metis-M anti-tank guided
 5                                                         USML IV
      missile launchers
      9M131 Metis-M anti-tank guided
 6
      missiles                                             USML IV
 7    Metis-M tri od launchers                             USML IV
      Konkurs tri od launchers                             USML IV
 8
      9P163-1 Kornet tri od launchers                      USML IV
      PG-7VLT tandem-charge anti-tank
 9
      warheads                                             USML IV
10    PG-7VR 85-millimeter HEAT tandem
       ro'ectiles                                          USML IV
11    Shershen-D anti-tank guided missile
      launchers                                            USML IV
12    Shershen-D anti-tank guided
      missiles                                             USML IV
13    S are   arts for T-72 battle tanks                   USML VII
      Spare parts for BTR-80 amphibious
14    armored    ersonnel carriers                         USML VII
      MI-24 attack helico ters                            USML VIII
15
      MIG-29 fi hter 'ets                                 USML VIII
16    Operators for Igla surface-to-air
      missile launchers                                    USML IX
17    Technicians for Igla surface-to-air
      missile launchers                                    USML IX
18    Trainers for Igla surface-to-air
      missile launchers                                    USML IX
19    S ecial forces fi hters                              USML IX
      MI-24 attack helico ter      ilots                   USML IX
20
      L39 attack aircraft     ilots                        USML IX
21    F-1 fi hter 'et     ilots                            USML IX

22    MIG-25 fi hter    ilots                              USML IX
      PVS-27 ni ht-vision wea on si ht                     USML XII
23                                                         USML XII
      MI-24 ni ht-vision e ui ment
24    Shershen-D thermal si hts                            USML XII
      Shershen-D PN-S combat module
25     uidance devices                                     USML XII
      1PBN86-VI Metis-M thermal si hts                     USML XII
26
      Konkurs thermal si hts                               USML XII
27    1PN79-1 Kornet thermal si hts                        USML XII

28
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 1 ~E.      EXPORTING DEFENSE ARTICLES

 2          22.   The AECA and the ITAR required a person to apply for
 3
      and obtain an export license from the DDTC before exporting,
 4
      transferring, re-exporting, or re-transferring from the United
 5
      States defense articles by any means.        (22 U.S.C. § 2778(b)(2);
 6
      22 C.F.R. ~~ 120.1, 120.17.)
 7

 8          23.   At no time did defendant GHANEM or any co-conspirator

 9    apply for, receive, or possess a license to export, transfer,

10    re-export, or re-transfer the PVS-27 night-vision weapon sights

11 ( described in the counts below.

12
            24.   At no time did defendant GHANEM or any co-conspirator
13
      apply for, receive, or possess a license to export, transfer,
14
      re-export, or re-transfer the Glock pistols described in the
15
      counts below.
16

17 I F.     BROKERING ACTIVITIES

18          25.   At no time did defendant GHANEM apply for, receive, or

19    possess a license to engage in brokering activities with respect
20
      to the defense articles or defense services described herein and
21
     l in the counts below.
22
     I G.   ARMS EMBARGO
23
            26.   No sale or transfer and no proposal to sell or
24

25    transfer any defense articles could be made to countries

26    identified in Title 22, Code of Federal Regulations, Section

27    126.1, including Libya and Iran, or to any person acting on

28    behalf thereof, whether in the United States or abroad, without

                                          9
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 1   first obtaining a license or written approval from DDTC pursuant

 2   to Title 22, Code of Federal Regulations, Section 126.1(e).
 3
          27.    Pursuant to Title 22, Code of Federal Regulations,
 4
     Section 126.1(c)(1), whenever the United Nations Security
 5
     Council mandated an arms embargo, all transactions that were
 6
     prohibited by the arms embargo and involved U.S. persons inside
 7

 8   or outside of the United States, or any person in the United

 9   States, and defense articles or defense services described on

10   the USML, irrespective of origin, were prohibited under the ITAR

11   for the duration of the sanctions, unless the Department of
12
     State published a notice in the Federal Register specifying
13
     different measures.
14
          28.   On May 24, 2011, the Department of State amended the
15
     ITAR to reflect the United Nations Security Council Libyan arms
16

17   embargoes adopted in February and March 2011.

18        29.   Pursuant to Title 22, Code of Federal Regulations,

19   Section 126.1(k), it was the policy of the United States to deny

20
     licenses or other approvals for exports or imports of defense
21
     articles and defense services destined for or originating in
22
     Libya, except that a license or other approval might be issued,
23
     on a case-by-case basis, for:
24
                (a) Arms and related materiel intended solely for
25

26   security or disarmament assistance to the Libyan government,

27   notified to the Committee of the Security Council concerning

28

                                         10
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 1   Libya in advance and in the absence of a negative decision by

 2   the Committee within five working days of such a notification;
 3
                (b) Non-lethal military equipment when intended solely
 4
     for security or disarmament assistance to the Libyan government;
 5
                (c) The provision of any technical assistance or
 6
     training when intended solely for security or disarmament
 7

 8   assistance to the Libyan government;

 9              (d) Small arms, light weapons, and related materiel

10   temporarily exported to Libya for the sole use of United Nations

11   personnel, representatives of the media, or humanitarian and
12
     development workers and associated personnel, notified to the
13
     Committee of the Security Council concerning Libya in advance
14
     and in the absence of a negative decision by the Committee
15
     within five working days of such a notification;
16

17              (e) Non-lethal military equipment intended solely for

18 ( humanitarian or protective use, and related technical assistance

19   or training; or

20
                (f) Other sales or supply of arms and related
21
     materiel, or provision of assistance or personnel, as approved
22
     in advance by the Committee of the Security Council concerning
23
     Libya.
24
          30.   Defendant GHANEM's conduct charged in this Indictment
25

26   was not within the parameters of or in compliance with the

27   United Nations arms embargo, as codified in Section 126.1 of the

28   ITAR.

                                         11
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 1        31.   At no time did defendant GHANEM or any co-conspirator

 2   apply for, receive, or possess a license or other approval to
 3
     sell or transfer the PVS-27 night-vision weapon sights described
 4
     in the counts below.
 5
          32.   At no time did defendant GHANEM or any co-conspirator
 6
     apply for, receive, or possess a license or approval to sell or
 7

 8   transfer the Glock pistols described in the counts below.

 9        33.   No sale, export, transfer, re-export or retransfer of,

10   and no proposals to sell, export, transfer, re-export, or re-

11   transfer, any defense articles or defense services involving any
12
     country referred to in Title 22, Code of Federal Regulations,
13
     Section 126.1(e), including Libya, Iran, and Iraq, could be
14
     carried out by any person without first obtaining a license or
15
     written approval from DDTC pursuant to Title 22, Code of Federal
16

17   Regulations, Section 126.1(e).

18        34.   At no time did defendant GHANEM or any Unindicted Co-

19   Conspirator identified herein apply for, receive, or possess a

20
     license or written approval to make proposals or presentations
21
     relating to the defense articles or defense services described
22
     herein.
23
     H.   MISSILE SYSTEMS DESIGNED TO DESTROY AIRCRAFT
24
          35.   It was unlawful for any national of the United States,
25

26   or any person over whom jurisdiction exists under this

27   subsection, to knowingly acquire, transfer directly or

28   indirectly, receive, possess, import, export, or use: 1) an

                                         12
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 1   explosive or incendiary rocket or missile that was guided by any

 2   system designed to enable the rocket or missile to seek or
 3
     proceed toward energy radiated and reflected from an aircraft or
 4
     toward an image reflecting an aircraft, and otherwise direct or
 5
     guide the rocket or missile to an aircraft; 2) any device
 6
     designed or intended to launch or guide a rocket or missile; and
 7

 8   3) any part or combination of parts designed or redesigned for

 9   use in assembling or fabricating a rocket, missile, or other

10   device.    (18 U.S.C. ~ 2332g.)

11        36.   The factual allegations in paragraphs 1 through 35 are
12
     incorporated in all counts of this Indictment by reference and
13
     are re-alleged as though fully set forth therein.
14

15

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                                         13
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 1                                   COUNT ONE

 2                               [18 U.S.C. § 371]

 3 ~ A.   OBJECTS OF THE CONSPIRACY

 4        37.   Beginning on a date unknown to the Grand Jury, but no

 5   later than September 4, 2013, and continuing through on or about

 6   December 8, 2015, in Los Angeles County, within the Central

 7   District of California, and elsewhere, defendant RAMI NAJM ASAD-

 8   GHANEM, also known as ("aka") "Rami Ghanem" ("defendant

 9 ~ GHANEM"), together with Unindicted Co-Conspirator #1, Unindicted

10   Co-Conspirator #2, Unindicted Co-Conspirator #3, and others

11   known and unknown to the Grand Jury, knowingly conspired and

12   agreed with each other to knowingly and intentionally commit the

13   following offenses against the United States:

14              a.    To engage in the business of brokering activities

15   for which registration and a license or written approval is

16   required without first registering or obtaining the required

17 ' license or written approval from the Directorate of Defense

18   Trade Controls, in violation of Title 22, United States Code,

19   Section 2778(b)(1), and Title 22, Code of Federal Regulations,

20   Section 127.1(b)(2).

21              b.    To export, transfer, re-export, or re-transfer

22   from the United States to another country defense articles

23   listed on the USML, including Glock pistols and PVS-27 night-

24   vision weapon sights, without first obtaining from the United

25   States Department of State a license or written authorization

26   for such export, transfer, re-export, or re-transfer, in

27   violation of Title 22, United States Code, Section 2778(b)(2),

28

                                         14
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 1   (c), and Title 22, Code of Federal Regulations, Sections 123.1,

 2   127.1(a)(1), and 127.3.

 3              c.    To make proposals and presentations to sell,

 4   export, transfer, re-export, and re-transfer defense articles

 5   and defense services subject to the ITAR without first obtaining

 6   a license or written approval from DDTC in violation of Title

 7   22, Code of Federal Regulations, Sections 126.1(e)(1) and

 8   127.1(b)(1).

 9   B.   MANNER AND MEANS OF THE CONSPIRACY

10        38.   The objects of the conspiracy were to be accomplished

11   in substance as follows:

12              a.    Defendant GHANEM, Unindicted Co-Conspirator #l,

13   and Unindicted Co-Conspirator #2 would engage with prospective

14   suppliers and buyers of defense articles and defense services on

15   behalf of Gateway to MENA for Logistics Services ("Gateway to

16   MENA").

17              b.    Defendant GHANEM, Unindicted Co-Conspirator #1,

18   and Unindicted Co-Conspirator #2 would negotiate pricing,

19   quantities, specifications, and other terms of sale with

20 ( prospective suppliers and buyers for the defense articles and

21 ( defense services on behalf of Gateway to MENA.

22              c.    Defendant GHANEM, Unindicted Co-Conspirator #l,

23   and Unindicted Co-Conspirator #2 would add a profit margin to

24   their suppliers' prices before offering defense articles and

25   defense services for sale to their buyers on behalf of Gateway

26   to MENA.

27              d.    Defendant GHANEM, Unindicted Co-Conspirator #l,

28   and Unindicted Co-Conspirator #2 would arrange for prospective

                                         15
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 1   buyers to obtain end-user certificates indicating the final

 2   customer for the defense articles and defense services.            On at

 3   least some occasions, defendant GHANEM, Unindicted Co-

 4   Conspirator #l, and Unindicted Co-Conspirator #2 knew that these

 5   end-user certificates were falsified.

 6              e.    Defendant GHANEM, Unindicted Co-Conspirator #1,

 7   and Unindicted Co-Conspirator #2 would cause payment to be made

 8   to suppliers of defense articles and defense services on the

 9   suppliers' invoices.     On at least some occasions, these invoices

10   falsely reflected the purchase of other commodities, rather than

11   the defense articles or defense services that defendant GHANEM,

12   Unindicted Co-Conspirator #l, and Unindicted Co-Conspirator #2

13   actually purchased.

14              f.    Unindicted Co-Conspirator #3, at times operating

15   through Company A and at times operating through Company B,

16   would supply defense articles and defense services to defendant

17   GHANEM, Unindicted Co-Conspirator #1, and Unindicted Co-

18   Conspirator #2 in exchange for payment.         On at least some

19   occasions, Unindicted Co-Conspirator #3 would provide to

20   defendant GHANEM, Unindicted Co-Conspirator #1, Unindicted Co-

21   Conspirator #2, and Gateway to MENA cover invoices falsely

22   reflecting the purchase of other commodities that were not

23   defense articles or defense services, rather than the actual

24   defense articles or defense services that defendant GHANEM,

25   Unindicted Co-Conspirator #l, Unindicted Co-Conspirator #2, and

26   Gateway to MENA purchased.

27

28

                                         16
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  1~IC.      OVERT ACTS

  2          39.   In furtherance of the conspiracy and to effect the

 3      objects of the conspiracy, the following overt acts, among

 4      others, were committed in the Central District of California and

 5      elsewhere:

 6      Overt Act No. l:     On or about September 4, 2013, in an

 7      electronic message, defendant GHANEM discussed with an

 8      unindicted co-conspirator his efforts to procure, on behalf of a

  a foreign government, an 5-400 Triumph anti-aircraft missile
  ,

10      defense system.

11      Overt Act No. 2:     On or about September 9, 2013, defendant

12      GHANEM sent to Unindicted Co-Conspirator #2 an electronic

13      message containing a list of the following defense articles that

14      defendant GHANEM sought to procure, in unspecified quantities,

15      on behalf of a foreign government to be covertly supplied to

16      Libya, Syria, and the Kurdish region of Iraq:

17                 9 x 19-millimeter ammunition
                   5.56 x 45-millimeter ammunition
18                 7.62 x 54-millimeter ammunition
                   7.62 x 39-millimeter ammunition
19 ',              7.62 x 54-millimeter BKC ammunition
                   Zsu-57-2 57-millimeter anti-aircraft ammunition
20                 M51 37-millimeter anti-aircraft armor-piercing capped
                   trace
21                 Zsu-23-2 23-millimeter ammunition
                   BS-41 14.5-millimeter ammunition
22                 Dishka 127 x 108-millimeter ammunition
                   D20 152-millimeter tank rounds
23                 M48 76-millimeter tank rounds
                   D30 122-millimeter towed howitzer heat tank rounds
24                 GRAD 122-millimeter rockets
                   122-millimeter GRAD rocket launcher
25                 107-millimeter GRAD rocket launcher
                   RPG-7 HEAT rounds
26                 CZ-999 pistols 9-millimeter pistols
                   Glock 9-millimeter pistols
27 i               AK-47 assault rifles
                   Dragonov sniper rifles
28 '               7.62-millimeter PKM medium machine guns

                                            17
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 1              RPG-7 anti-tank rocket-propelled grenade launcher
                Kornet anti-tank guided missile launchers
 2              Kornet anti-tank guided missiles
                Konkurs anti-tank missile launchers
 3              Konkurs anti-tank missiles
                Igla 9K38 surface-to-air missile launchers
 4              Igla 9K38 surface-to-air missiles

 5
     Overt Act No. 3     On or about September 9, 2013, Unindicted Co-
 6
     Conspirator #2 replied to defendant GHANEM's inquiry about the
 7
     I list of defense articles identified in Overt Act No. 2 to ask
 8
     about the desired quantities and the intended destinations for
 9
     those defense articles.
10
     Overt Act No. 4:     On or about November 8, 2013, Unindicted Co-
11
     Conspirator #2 sent to defendant GHANEM an e-mail containing
12
     pricing information for the following defense articles that
13
     defendant GHANEM sought to purchase:
14
                3,000,000 rounds of 12.7 x 108-millimeter ammunition
15              3,000,000 rounds of 14.5 x 114-millimeter ammunition
                198 12.7-millimeter NSVT machine guns
16              50 14.5-millimeter KPVT machine guns
                2,500,000 rounds of 23-millimeter OFZ ammunition
17              1,500,000 rounds of 23-millimeter BZT ammunition
                3,000 S-13T 122-millimeter rockets
18              3,900 5-13 OF 122-millimeter rockets

19
     Overt Act No. 5:     Beginning on or about December 5, 2013,
20
     defendant GHANEM engaged in discussions via electronic message
21
     with an unindicted co-conspirator regarding the terms under
22
     which defendant GHANEM sought to procure an 5-400 Triumph anti-
23
     aircraft missile defense system on behalf of a foreign
24
     government, which had already approved the purchase.
25
     Overt Act No. 6:     On or about December 24, 2013, Unindicted Co-
26
     Conspirator #1 registered Gateway to MENA with the Ministry of
27
     Industry and Trade of a foreign government for the purpose of
28

                                          E~:3
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 l~fusing Gateway to MENA to conduct exports and transfers of

 21    defense articles and defense services.

 3     Overt Act No. 7:     On or about March 11, 2014, defendant GHANEM

 4     sent a letter to a prospective weapons supplier in the Czech

 5     Republic requesting to purchase for Gateway to MENA, on behalf

 6     of a foreign government, the following defense articles, with

 7     quantities to be determined based on the prospective supplier's

 8     available stock:

 9                RPG-7 anti-tank grenade launchers
                  107-millimeter rocket launchers
10                BM21 122-millimeter rocket launchers
                  BM21 122-millimeter rockets
11                81-millimeter mortars
                  82-millimeter mortars
12                60-millimeter mortars
                  120-millimeter mortars
13 j              7.62 x 51-millimeter ammunition
                  7.62 x 54-millimeter ammunition
14                23-millimeter anti-aircraft twin-barreled autocannon
                  Any small arms
15

16     Overt Act No. 8:     On or about July 30, 2014, defendant GHANEM

17     sent a letter to a foreign government offering to sell the

18     following defense articles on behalf of Gateway to MENA from

19     Gateway to MENA's stock:

20                1000 Konkurs 9P135M1 anti-tank missile launchers
                  300 Konkurs 9M113 anti-tank missiles
21                95 Igla surface-to-air missile systems
                  6000 Konkurs 9M113 anti-tank missiles
22                120 Konkurs 9M113 anti-tank missile launchers
                  8 Strela surface-to-air missile launchers
23                400 Strela surface-to-air missiles
                  300 M79 Osa RBR 90-millimeter anti-tank guided rocket
24                launchers
                  815 M79 Osa RBR 90-millimeter anti-tank guided rockets
25                815 M79 Osa RBR 90-millimeter anti-tank guided rocket
                  tubes
26                50 9M151 Metis-M anti-tank guided missile launchers
                  250 9M131 Metis-M anti-tank guided missiles
27                50 Metis-M tripod launchers
                  50 1PBN86-VI Metis-M thermal sights
28                50 9M133 Kornet anti-tank guided missile launchers

                                           19
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 1              500 9M133 Kornet anti-tank guided missiles
                50 9P163-1 Kornet tripod launchers
 2              2000 PG-7VLT tandem-charge anti-tank warheads
                1000 PG-7VR 85-millimeter HEAT tandem projectiles
 3              50 1PN79-1 Kornet thermal sights
                100 Shershen-D anti-tank guided missile launchers
 4              1000 Shershen-D anti-tank guided missiles
                100 Shershen-D PN-S combat module guidance devices
 5              100 Shershen-D thermal sights
                100 9M113 Konkurs anti-tank guided missile launchers
 6              120 9M113 Konkurs anti-tank guided missiles
                100 Konkurs tripod launchers
 7              100 Konkurs thermal sights
                50 Fagot 9K111 anti-tank guided missile launchers
 8              500 Fagot 9M111 anti-tank guided missiles
                300 M70 Osa 90-millimeter anti-tank guided missile
 9              launchers
                800 M79 Osa 90-millimeter anti-tank guided missile
10              launchers
                50 9M133 Kornet (Konkurs) anti-tank guided missile
11              launchers including tripods and thermal sights
                500 9M133 Kornet (Konkurs) anti-tank guided missiles
12              5000 85-millimeter RPG-7 anti-tank launcher including
                telescopic sight
13              10,000 PG-7VL 85-millimeter HEAT projectiles
                30,000,000 rounds of 7.62 x 39-millimeter ammunition
14              20 SKIF anti-tank guided missile launchers
                100 SKIF missiles anti-tank guided missiles
15              3,000,000 rounds of 12.7 x 108-millimeter ammunition

16   Overt Act No. 9:     On or about August 25, 2014, defendant GHANEM

17   and Unindicted Co-Conspirator #1 sent a letter to the Ministry

18   of Defense of the Republic of Iraq offering to sell 9,000 68-

19   millimeter RPG-75 anti-tank rocket launchers on behalf of

20   Gateway to MENA from Gateway to MENA's stock.

21   Overt Act No. 10:     On or about November 2, 2014, Unindicted Co-

22   Conspirator #1 sent to defendant GHANEM an e-mail containing a

23   document certifying that the Government of Libya was the end

24   user of the following defense articles to be supplied by Gateway

25   to MENA, represented by defendant GHANEM:

26              10,000 GRAD 122-millimeter rockets
                Three million rounds of 12.7-millimeter ammunition
27              150 Konkurs anti-tank missile launchers
                1500 Konkurs anti-tank missiles
28              100 sniper rifles

                                          20
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 1              16 rocket launchers for MI-24
                2500 AT-2 swatter guided missiles
 2              2500 AT-6 spiral missiles
                1000 57-millimeter rockets
 3              1000 80-millimeter rockets
                1000 130-millimeter rockets
4               1000 240-millimeter rockets
                16 AGS-17 30-millimeter grenade launchers
 5

 6   Overt Act No. 11:     On or about January 7, 2015, defendant

 7   GHANEM, Unindicted Co-Conspirator #l, and Unindicted Co-

 8   Conspirator #2 agreed to supply to the Ministry of Defense of

 9   the Republic of Libya, on behalf of Gateway to MENA, the

10   following defense articles:

11              1,600,000 rounds of ammunition for ZU-23 23-millimeter
                anti-aircraft gun
12              1,300,000 rounds of ammunition for 14.5-millimeter
                anti-aircraft gun
13              12,000 120-millimeter mortar rounds
                10,000 Grad 122-millimeter rockets
14              5,000,000 rounds of 7.62 x 54-millimeter ammunition
                for PKT machine gun
15              50 GP 135-MI anti-tank launchers
                150 9M111M Fagot rockets
16              50 9M313 [I]GLA-1 rockets
                5 IGLA-L GP 51G surface-to-air missile launchers
17
     Overt Act No. 12:     On or about February 8, 2015, defendant
18
     GHANEM sent to Unindicted Co-Conspirator #1 via e-mail an
19
     invoice from Unindicted Co-Conspirator #3 entitled "COMMERCIAL
20

21 l invoice 06022" falsely reflecting a $409,000 purchase from

22   Gateway to MENA to Company A for technical and maintenance

23   training relating to cargo aircraft.        In the e-mail, defendant
24
     GHANEM noted that the invoice would "cover" the purchase of two
25
     MI-24 attack helicopter computers, the salary for operators of
26

27

28

                                         21
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 1 ~an Igla surface-to-air missile system, and four sets of night-

 2   vision equipment for the MI-24 attack helicopter.
 3
     Overt Act No. 13:     On or about February 8, 2015, Unindicted Co-
 4
     Conspirator #1 sent to defendant GHANEM an e-mail noting that
 5
     the correct price for the aforementioned order with Co-
 6
     Conspirator #3 and Company A totaled $398,000, rather than
 7

 8
     $409,000.

 9   Overt Act No. 14:     On or about February 10, 2015, Unindicted Co-

10   Conspirator #1 sent to defendant GHANEM via e-mail a copy of a

11   bank transfer reflecting a payment of $398,000 from Gateway to
12
     MENA to Company A on invoice number 06022.
13
     Overt Act No. 15:     On or about February 10, 2015, defendant
14
     GHANEM communicated by e-mail with a supplier, who sent to
15
     defendant GHANEM a cover invoice purporting to reflect a
16

17   purchase of building materials, but in fact reflected a purchase

18   by defendant GHANEM and Unindicted Co-Conspirator #1 of the

19   services of fighter aircraft specialists.

20
     Overt Act No. 16:     On or about February 17, 2015, Unindicted Co-
21
     Conspirator #3 sent to defendant GHANEM an e-mail about the
22
     status of defendant GHANEM's request for defense articles and
23
     defense services, including night-vision equipment, attack
24

25
     aircraft pilots, Igla surface-to-air missile operators, reserve

26

27

28

                                         22
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 1   engines and spare parts for military aircraft, and 50,000 pieces

 2   of 23-millimeter ammunition.
 3
     Overt Act No. 17:     On or about March 9, 2015, defendant GHANEM
 4
     sent to Unindicted Co-Conspirator #4 a message stating that
 5
     defendant GHANEM was looking for individuals to operate Igla
 6
     surface-to-air missiles in Libya, and to train other fighters in
 7
     the operation of the Igla missile system.         Defendant GHANEM
 8

 9   further stated that the Igla operators/trainers would be

10   deployed for two months, but that if they managed to shoot down

11   a plane, they could go home immediately.
12
     Overt Act No. 18:     On or about March 10, 2015, defendant GHANEM
13
     met with an undercover agent for the purpose of purchasing and
14
     illegally exporting from the Central District of California and
15
     elsewhere in the United States weaponry and other military
16

17   equipment, including PVS-27 night-vision weapon sights, without

18   a license.

19 ( Overt Act No. 19:     On or about March 11, 2015, defendant GHANEM

20
     again met with an undercover agent for the purpose of purchasing
21
     and illegally exporting, from the Central District of California
22
     and elsewhere in the United States, weaponry and other military
23
     equipment, including PVS-27 night-vision weapon sights, without
24

25   a license.

26 ( Overt Act No. 20:     On or about March 11, 2015, defendant GHANEM

27   placed a telephone call to a prospective buyer of the export-

28   controlled night-vision equipment, including PVS-27 night-vision

                                         23
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 1   weapon sights, that defendant GHANEM planned to illegally export

 2   from the Central District of California and elsewhere in the
 3
     United States, in order to discuss defendant GHANEM's proposed
4
     sale of these articles to the prospective buyer.
5
     Overt Act No. 21:     On or about March 11, 2015, defendant GHANEM
6
     placed a telephone call to a second prospective buyer of export-
 7

 8   controlled night-vision equipment, including PVS-27 night-vision

 9   weapon sights, that defendant GHANEM planned to illegally export

10   from the Central District of California and elsewhere in the

11   United States, in order to discuss defendant GHANEM's proposed
12
     sale of these articles to the prospective buyer, including the
13
     logistics of delivery.
14
     Overt Act No. 22:     On or about March 23, 2015, defendant GHANEM
15
     sent to Unindicted Co-Conspirator #1 an e-mail containing
16

17   product specification and pricing information for PVS-27 night-

18   vision weapon sights that defendant GHANEM and Unindicted Co-

19   Conspirator #1 intended to offer to a customer.          Defendant

20
     GHANEM had originally obtained this PVS-27 product specification
21
     from an undercover agent, along with an offer to sell these
22
     articles to defendant GHANEM at a price lower than the price at
23
     which defendant GHANEM subsequently offered it.
24
     Overt Act No. 23:     On or about March 30, 2015, defendant GHANEM
25

26   sent to a prospective buyer an e-mail containing materials

27   offering to provide, on behalf of Gateway to MENA, certain

28

                                          24
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 1   enumerated defense articles, including eight Strela surface-to-

 2 lair missile launchers and 400 Strela surface-to-air missiles.

 3
     Overt Act No. 24:     On or about April 3, 2015, Unindicted Co-
 4
     Conspirator #3 sent to defendant GHANEM an e-mail noting Gateway
 5
     to MENA's payment of $398,000 and referencing defendant GHANEM's
 6
     purchase of defense articles and defense services, including
 7

 8   computers for military aircraft, night-vision equipment, and the

 9   salary for Igla surface-to-air missile operators.

10   Overt Act No. 25:     On or about April 5, 2015, Unindicted Co-

11   Conspirator #3 sent to defendant GHANEM an e-mail referencing
12
     their agreement that Unindicted Co-Conspirator #3 would provide
13
     I to defendant GHANEM defense services including three Igla
14
     surface-to-air missile operators by April 14, 2015, including
15
     one specialist on armament who would provide mechanical
16

17   services, and 100 to 200 specially trained mercenaries.

18   Overt Act No. 26:     On or about April 5, 2015, defendant GHANEM

19   sent to Unindicted Co-Conspirator #3 an e-mail clarifying
20
     defendant GHANEM's understanding of the terms of his agreement
21
     to purchase defense articles and defense services, including
22
     defendant GHANEM's agreement to pay the operators of an Igla
23
     surface-to-air missile a bonus of $50,000 for each plane shot
24
     down.   In this e-mail, defendant GHANEM also sought to clarify
25

26   the pricing for night-vision equipment for the MI-24 attack

27   helicopter that he intended to purchase from Unindicted Co-

28   Conspirator #3.

                                          25
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 1   Overt Act No. 27:     On or about April 8, 2015, Unindicted Co-

 2   Conspirator #3 sent to defendant GHANEM an e-mail offering to
 3
     provide defense articles including ammunition, 23-millimeter
 4
     guns, and containers for 23-millimeter guns.
 5
     Overt Act No. 28:     On or about April 9, 2015, defendant GHANEM
 6
     sent to Unindicted Co-Conspirator #1 an e-mail containing an
 7

 8   attached invoice from Company B, an entity that facilitated

 9   money transfers for transactions involving defense articles and

10   defense services.     This invoice falsely reflected the purchase

11   of construction equipment for $111,821.
12
     Overt Act No. 29:     On or about April 12, 2015, defendant GHANEM
13
     forwarded to himself an e-mail addressed to Unindicted Co-
14
     Conspirator #3 replying to Unindicted Co-Conspirator #3's April
15
     8, 2015 offer to provide defense articles including ammunition,
16

17   23-millimeter guns, and containers for 23-millimeter guns.            In

18   this reply, defendant GHANEM indicated that before moving ahead

19   with a new purchase for defense articles, defendant GHANEM

20
     wished to clarify the terms of his pending purchase of defense
21
     articles and defense services from Unindicted Co-Conspirator #3
22
     including fighter-aircraft computers, night-vision equipment for
23
     the MI-24 attack helicopter, and the salary for Igla surface-to-
24

25   air missile operators and trainers.

26   Overt Act No. 30:     On or about April 15, 2015, defendant GHANEM

27   and Unindicted Co-Conspirator #2 discussed via e-mail the

28   following subjects related to the conspiracy: 1) their intent to

                                         26
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 1   purchase four MI-24 helicopters, including two without end-user

 2   certificates; 2) their intent to purchase a MIG-29 fighter jet
 3
     using a false end-user certificate from a foreign government;
4
     h and 3) their intent to transfer defense articles and services to
 5
     and from other foreign countries.
6
     Overt Act No. 31:_    On or about April 21, 2015, Unindicted Co-
 7
     Conspirator #3 sent to defendant GHANEM an e-mail detailing

     defendant GHANEM's purchase of defense articles and defense

     services from Unindicted Co-Conspirator #3, including fighter-

11   aircraft computers, night-vision equipment for the MI-24 attack
12
     helicopter, and the salary for Igla surface-to-air missile
13
     operators and trainers.
14
     Overt Act No. 32:     On or about April 21, 2015, defendant GHANEM
15
     replied to Unindicted Co-Conspirator #3's April 21, 2015 e-mail
16

17   confirming the details of defendant GHANEM's purchase of defense

18   articles and defense services from Unindicted Co-Conspirator #3,

19   including fighter-aircraft computers, night-vision equipment for

20
     the MI-24 attack helicopter, and the salary for Igla surface-to-
21
     fair missile operators and trainers.
22
     Overt Act No. 33:     On or about April 27, 2015, defendant GHANEM
23
     sent to Unindicted Co-Conspirator #1 an e-mail containing the
24
     ( passport information for the two Igla surface-to-air missile
25

26   operators and trainers whose defense services defendant GHANEM

27 h and Unindicted Co-Conspirator #1 had purchased.

28

                                         27
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 1 (Overt Act No. 34:      On or about April 28, 2015, Unindicted Co-

 2   Conspirator #1 sent to defendant GHANEM by e-mail the flight
 3
     itineraries for travel to Misurata, Libya, on April 30, 2015,
 4
     the two Igla surface-to-air missile operator and trainer whose
 5
     defense services defendant GHANEM and Unindicted Co-Conspirator
 6
     ~ #1 had purchased.
 7
     Overt Act No. 35:     On or about April 29, 2015, defendant GHANEM
 8

 9   sent to Unindicted Co-Conspirator #3 an e-mail containing an

10   attached visa approval letter granting permission for Co-

11   Conspirator #4, Co-Conspirator #5, and Co-Conspirator #6, to
12
     travel to Misurata, Libya.
13
     Overt Act No. 36:     On or about May 5, 2015, defendant GHANEM
14
     sent to Unindicted Co-Conspirator #1 an e-mail containing two
15
     cover invoices falsely reflecting Gateway to MENA's alleged
16

17 ( purchase of building materials and equipment from Company B, an

18   entity that facilitated money transfers for transactions

19   involving defense articles and defense services, in the amounts

20
     of $306,340 and $292,000.
21
     Overt Act No. 37:     On or about May 6, 2015, Unindicted Co-
22
     Conspirator #1 sent to defendant GHANEM an e-mail reflecting
23
     Unindicted Co-Conspirator #1's payment, on behalf of Gateway to
24
     MENA, of Company B's cover invoice in the amount of $306,340.
25

26   Overt Act No. 38:     On or about May 30, 2015, defendant GHANEM

27   sent to Unindicted Co-Conspirator #1 an e-mail containing a

28   Company B cover invoice that falsely reflected payment for

                                         28
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 1   generators and other building materials and equipment, but in

 2   fact documented Gateway to MENA's payment for the service of
 3
     fighter aircraft pilots.
 4
     Overt Act No. 39:     On or about June 3, 2015, Unindicted Co-
 5
     Conspirator #4 sent to defendant GHANEM an e-mail confirming
 6
     that Unindicted Co-Conspirator #5 and Unindicted Co-Conspirator
 7

 8   #6, the Igla surface-to-air missile operators and trainers whose

 9   services defendant GHANEM and Unindicted Co-Conspirator #1 had

10   purchased, remained on duty in Libya on that date.

11   Overt Act No. 40:     On or about June 4, 2015, Unindicted Co-

12
     Conspirator #1 sent to defendant GHANEM an e-mail containing
13
     bank transfer information indicating that a Company B cover
14
     invoice for payment of defense services, specifically salaries
15
     for military fighter pilots, had been paid from Gateway to
16

17   MENA's bank account.

18   Overt Act No. 41:     On or about June 10, 2015, Unindicted Co-

19   Conspirator #1 sent to defendant GHANEM an e-mail containing a

20
     document indicating that the Ministry of Defense for the Libyan
21
     Salvation Government was the end-user and importer of 4,000,000
22
     rounds of 23-millimeter ammunition, 5,000,000 rounds of 14.5-
23
     millimeter by 114-millimeter ammunition, and 10,000 C5 rockets.
24
     Overt Act No. 42:     On or about June 27, 2015, Unindicted Co-
25

26   Conspirator #2 sent to defendant GHANEM an e-mail containing an

27

28

                                         29
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 1 fiend-user certificate from a foreign government for the following

 2   defense articles:

 3
                 20,000 AKS 7.62 assault rifles
 4
                 20,000 AKM 7.62 assault rifles
                 10,000,000 rounds of 7.62 x 39-millimeter ammunition
 5               10,000,000 rounds of 7.62 x 54-millimeter ammunition
                 5,000,000 rounds of 12.7 x 108-millimeter ammunition
 6
                 5,000,000 rounds of 14.5 x 114-millimeter ammunition
                 1,000,000 rounds of 23 x 152-millimeter ammunition
 7
                 1,500 RPG-7 anti-tank grenade launchers
                 20,000 PG-7V anti-tank grenade launchers
 8               1,500 PKM 7.62 medium machine guns
                 500 SVD 7.62-millimeter sniper rifles
 9               15,000 60-millimeter mortar shells
                 12,000 81-millimeter mortar shells
10
                 12,000 120-millimeter mortar shells
11 ( Overt Act No. 43:     On or about July 5, 2015, defendant GHANEM

12 ( sent an e-mail relating to his pending transfer, with Unindicted

13 I Co-Conspirator #2, of various defense articles, including parts

14   for tanks and amphibious armored personnel carriers.

15   Overt Act No. 44:     On a date unknown, defendant GHANEM,

16   Unindicted Co-Conspirator #l, and Unindicted Co-Conspirator #2

17   agreed to supply to the Ministry of Defense of the Republic of

18   Libya, on behalf of Gateway to MENA, the following defense

19   articles:

20               10,000 GRAD 122-millimeter rockets
                 3,000,000 rounds of 12.7-millimeter ammunition
21
                 150 Konkurs 9P135M anti-tank missile launchers
                 200 laser range finders
22               100 2000-meter sniper rifles
                 16 rocket launchers for MI-24 attack helicopters
23
                 2500 AT-2 Swatter guided anti-tank missiles
                 2500 AT-6 spiral missiles
24
                 1000 57-millimeter rockets
                 1000 80-millimeter rockets
25
                 1000 130-millimeter rockets
                 1000 240-millimeter rockets
26               16 AGS-17 30-millimeter grenade launchers
27

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 i                                     coulvT Two
 2       [22 U.S.C. ~~ 2778(b)(1)(A)(ii), (c); 22 C.F.R. ~~ 126.1,

 3                                  127.1(b)(2)]

 4        40.   From on or about September 4, 2013, to December 8,

 5   2015, in Los Angeles County, within the Central District of

 6   California, and elsewhere, defendant RAMI NAJM ASAD-GHANEM, also

 7   known as ("aka") "Rami Ghanem" ("defendant GHANEM"), knowingly

 8   and willfully engaged in the business of brokering activities

 9   without first obtaining a license or other approval from the

10   Department of State.

11        41.   Specifically, defendant GHANEM engaged in negotiating

12   and arranging contracts, purchases, sales, and transfers of

13   defense articles, foreign defense articles, defense services,

14   and foreign defense services, including the following:

15

16                Commodit                                 Controls
      12.7-millimeter NSVT machine        uns               USML I
17                                                          USML I
      7.62-millimeter AKS assault rifles
18    7.62-millimeter AKM assault rifles                    USML I
      7.62-millimeter PKM medium machine
19     uns                                                  USML I
      7.62-millimeter SVD sni er rifles                     USML I
20
      Sni er rifles                                         USML I
21    CZ-999    istols 9-millimeter      istols             USML I
      Glock 9-millimeter      istols                        USML I
22
      AK-47 assault rifles                                  USML I
23    Dra onov sni er rifles                                USML I
      14.5-millimeter KPVT machine        uns               USML II
24
      60-millimeter mortar shells                          USML III
25    81-millimeter mortar shells                          USML III
      120-millimeter mortar shells                         USML III
26
      7.62 x 39-millimeter ammunition                      USML III
27    Ammunition                                           USML III
      23-millimeter ammunition                             USML III
28

                                          31
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 1                Commodit'                                Controls
      Zsu-23-2 23-millimeter ammunition                    USML III
 2
      5.56 x 45-millimeter ammunition                      USML III
 3    BS-41 14.5-millimeter ammunition                     USML III

 4    9 x 19-millimeter ammunition                         USML III
      Zsu-57-2 57-millimeter anti-
 5    aircraft ammunition                                  USML III
      M51 37-millimeter anti-aircraft
 6    armor- iercin ca ed trace                            USML III
      7.62 x 39-millimeter ammunition                      USML III
 7
      7.62 x 54-millimeter ammunition                      USML III
      7.62 x 54-millimeter BKC ammunition                  USML III
      12.7 x 108-millimeter ammunition                     USML III
      Dishka 127 x 108-millimeter
      ammunition                                           USML III
      14.5 x 114-millimeter ammunition                     USML III
11    23 x 152-millimeter ammunition                       USML III
      D20 152-millimeter tank rounds                       USML III
12
      M48 76-millimeter tank rounds                        USML III
13    D30 122-millimeter towed howitzer
      heat tank rounds                                     USML III
14    12.7 x 108-millimeter ammunition                     USML III
      RPG-7 anti-tank rocket-propelled
15     renade launcher                                      USML IV
      Kornet anti-tank guided missile
16    launchers                                             USML IV
      Kornet anti-tank uided missiles                       USML IV
17
      Igla 9K38 surface-to-air missile
      launchers                                             USML IV
18
      I la 9K38 surface-to-air missiles                     USML IV
19    MI-24 rocket launchers                                USML IV
      57-millimeter rockets                                 USML IV
20
      80-millimeter rockets                                 USML IV
21    122-millimeter S-13T rockets                          USML IV
      122-millimeter 5-13 OF rockets                        USML IV
22
      130-millimeter rockets                                USML IV
23    240-millimeter rockets                                USML IV

24    GRAD 122-millimeter rockets                           USML IV
      122-millimeter GRAD rocket launcher                   USML IV
25                                                          USML IV
      107-millimeter GRAD rocket launcher
26    RPG-7 HEAT rounds                                     USML IV
      AT-2 Swatter     uided missiles                       USML IV
27                                                          USML IV
      AT-6 S iral missiles
28    Konkurs anti-tank missile launchers                   USML IV


                                          32
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 1                Commodit                                 Controls
      Konkurs anti-tank missiles                            USML IV
 2
      AGS-17 30-millimeter grenade
 3    launchers                                             USML IV
      Anti-tank    renade launchers RPG-7                   USML IV
 4    Anti-tank renades PG-7V                               USML IV
      Fagot 9K111 anti-tank guided
 5                                                          USML IV
      missile launchers
      Fagot 9M111 anti-tank guided
 6                                                          USML IV
      missiles
      M70 Osa 90-millimeter anti-tank
 7
       uided missile launchers                              USML IV
      M79 Osa 90-millimeter anti-tank
 8
       uided missile launchers                              USML IV
      9M133 Kornet (Konkurs) anti-tank
 9
      guided missile launchers including
      tri ods and thermal si hts                            USML IV
10
      9M133 Kornet (Konkurs) anti-tank
       uided missiles                                       USML IV
11
      85-millimeter RPG-7 anti-tank
12    launcher includin telesco is si ht                    USML IV
      PG-7VL 85-millimeter HEAT
13     ro'ectiles                                           USML IV
      SKIF anti-tank guided missile
14    launchers                                             USML IV
      SKIF anti-tank uided missiles                         USML IV
15    Strela surface-to-air missile
      launchers                                             USML IV
16
      Strela surface-to-air missiles                        USML IV
      M79 Osa RBR 90-millimeter anti-tank
17
       uided rocket launchers                               USML IV
18    M79 Osa RBR 90-millimeter anti-tank
       uided rockets                                        USML IV
19    M79 Osa RBR 90-millimeter anti-tank
       uided rocket tubes                                   USML IV
20    9M151 Metis-M anti-tank guided
      missile launchers                                     USML IV
21    9M131 Metis-M anti-tank guided
      missiles                                              USML IV
22    Metis-M tri od launchers                              USML IV
      Konkurs tri od launchers                              USML IV
23
      9P163-1 Kornet tri od launchers                       USML IV
24    PG-7VLT tandem-charge anti-tank
      warheads                                              USML IV
25    PG-7VR 85-millimeter HEAT tandem
       ro~ectiles                                           USML IV
26    Shershen-D anti-tank guided missile
      launchers                                             USML IV
27    Shershen-D anti-tank guided
      missiles                                              USML IV
28    S are   arts for T-72 battle tanks                   USML VII

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 1              Commodit                                   Controls
      Spare parts for BTR-80 amphibious
 2    armored    ersonnel carriers                         USML VII

 3    MI-24 attack helico ters                             USML VIII
      MIG-29 fi hter 'ets                                  USML VIII
 4    Operators for Igla surface-to-air
      missile launchers                                     USML IX
 5    Technicians for Igla surface-to-air
      missile launchers                                     USML IX
6     Trainers for Igla surface-to-air
      missile launchers                                     USML IX
 7
      S ecial forces fi hters                               USML IX
 8    MI-24 attack helico ter       ilots                   USML IX
      L39 attack aircraft        ilots                      USML IX
 9
      F-1 fi hter 'et     ilots                             USML IX
10    MIG-25 fi hter     ilots                              USML IX
      PVS-27 ni ht-vision wea on si ht                     USML XII
11
      MI-24 ni ht-vision e ui ment                         USML XII
12    Shershen-D thermal si hts                            USML XII
      Shershen-D PN-S combat module
13     uidance devices                                     USML XII
      1PBN86-VI Metis-M thermal si hts                     USML XII
14
      Konkurs thermal si hts                               USML XII
15    1PN79-1 Kornet thermal si hts                        USML XII

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 1                                   COUNT THREE

 2                              [18 U.S.C. § 2332g]

 3
     I A.   OBJECT OF THE CONSPIRACY
 4
            42.   From on or about September 9, 2013, to on or about
 5
      July 1, 2015, defendant RAMI NAJM ASAD-GHANEM, also known as
 6
     ("aka") "Rami Ghanem," a citizen of the United States
 7

 8   ("defendant GHANEM") who is currently located in the Central

 9   District of California, together with Unindicted Co-Conspirator

10   #l, Unindicted Co-Conspirator #2, Unindicted Co-Conspirator #3,

11   Unindicted Co-Conspirator #4, Unindicted Co-Conspirator #5,
12
     Unindicted Co-Conspirator #6, and others known and unknown to
13
     the Grand Jury, knowingly conspired to acquire, transfer
14
     directly or indirectly, receive, possess, import, export, and
15
     use: 1) an explosive or incendiary rocket or missile that is
16

17 ( guided by any system designed to enable the rocket or missile to

18 ( seek or proceed toward energy radiated and reflected from an

19 l aircraft or toward an image reflecting an aircraft, and

20
     otherwise direct or guide the rocket or missile to an aircraft;
21
     2) any device designed or intended to launch or guide a rocket
22
     or missile; and 3) any part or combination of parts designed or
23
     '. redesigned for use in assembling or fabricating a rocket,
24
     'I~ missile, or other device in violation of Title 18, United States
25

26 , Code, Section 23328.

27

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 1 ~B.     MANNER AND MEANS OF THE CONSPIRACY

 2        43.   The object of the conspiracy was to be accomplished in
 3
     the manner and by the means described below, among others:
 4
          a.    Defendant GHANEM, Unindicted Co-Conspirator #l,
 5
     Unindicted Co-Conspirator #3, Unindicted Co-Conspirator #4,
 6
     Unindicted Co-Conspirator #5, Unindicted Co-Conspirator #6,
 7
     would acquire, transfer directly or indirectly, receive,
 8

 9   possess, import, export, and use Igla surface-to-air missile

10   systems to enable Unindicted Co-Conspirator #5, Unindicted Co-

11   Conspirator #6, and others known and unknown to the Grand Jury,
12
     to attack aircraft in Libya, in violation of Title 18, United
13
     States Code, Section 2332g.
14
          b.    Defendant GHANEM, Unindicted Co-Conspirator #1, and
15
     Unindicted Co-Conspirator #2, would acquire, transfer directly
16

17   or indirectly, receive, possess, import, export, and use Igla

18   surface-to-air missile systems, in violation of Title 18, United

19   States Code, Section 23328.

20
          c.    Defendant GHANEM, Unindicted Co-Conspirator #1, and
21
     Unindicted Co-Conspirator #2, would acquire, transfer directly
22
     or indirectly, receive, possess, import, export, and use Strela
23
     surface-to-air missile systems, in violation of Title 18, United
24

25   States Code, Section 23328.

26        d.    Defendant GHANEM and others known and unknown to the

27   Grand Jury would acquire, transfer directly or indirectly,

28   receive, possess, import, export, and use, other missile systems

                                          36
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 1    designed to destroy aircraft, in violation of Title 18, United

 2    States Code, Section 23328.
 3
     ~ C.   OVERT ACTS
 4
            44.   In furtherance of the conspiracy and to accomplish the
 5
     object of the conspiracy, defendant GHANEM, Unindicted Co-
 6
      Conspirator #l, Unindicted Co-Conspirator #2, Unindicted Co-
 7

 8    Conspirator #3, Unindicted Co-Conspirator #4, Unindicted Co-

 9    Conspirator #5, and Unindicted Co-Conspirator #6, inclusive,

10   committed the following overt acts, among others:

11    Overt Act No. l:    On or about September 9, 2013, defendant
12
     GHANEM sent to Unindicted Co-Conspirator #2 an electronic
13
      message containing a list of defense articles and services that
14
     defendant GHANEM sought to procure, in unspecified quantities,
15
     on behalf of a foreign government to be covertly supplied to
16

17   Libya, Syria, and the Kurdish region of Iraq, including Igla

18   9K38 surface-to-air missile launchers and Igla 9K38 surface-to-

19 lair missiles.

20
     Overt Act No. 2:     On or about September 9, 2013, Unindicted Co-
21
     Conspirator #2 replied to defendant GHANEM's inquiry about the
22
     ( list of defense articles identified in Overt Act No. 1 to ask
23
     about the desired quantities and the intended destinations for
24
     those defense articles.
25 (

26   Overt Act No. 3:     On or about July 30, 2014, defendant GHANEM

27   sent a letter to a foreign government offering to sell certain

28   enumerated defense articles on behalf of Gateway to MENA from

                                          37
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 1    Gateway to MENA's stock, including eight Strela surface-to-air

 2    missile launchers and 400 Strela surface-to-air missiles.
 3
     ( Overt Act No. 4:    On or about January 7, 2015, defendant GHANEM,
 4
     ~ Unindicted Co-Conspirator #l, and Unindicted Co-Conspirator #2
 5
      agreed to supply to the Ministry of Defense of the Republic of
 6
      Libya, on behalf of Gateway to MENA, defense articles and
 7

 8    services including 5 IGLA-L 9P519 surface-to-air missile

 9 ( launchers.

10    Overt Act No. 5:     On or about February 8, 2015, defendant GHANEM

11    sent to Unindicted Co-Conspirator #1 via e-mail an invoice from
12
      Unindicted Co-Conspirator #3 entitled "COMMERCIAL invoice 06022"
13
     falsely reflecting a $409,000 purchase from Gateway to MENA to
14
      Company A for technical and maintenance training relating to
15
      cargo aircraft.     In the e-mail, defendant GHANEM noted that the
16

17    invoice would "cover" the purchase of enumerated defense

18 p articles and services including the salary for operators of an

19 ~ Igla surface-to-air missile system.

20
      Overt Act No. 6:     On or about February 8, 2015, Unindicted Co-
21
      Conspirator #1 sent to defendant GHANEM an e-mail noting that
22
      the correct price for the aforementioned order with Unindicted
23
      Co-Conspirator #3 and Company A totaled $398,000, rather than
24
     $409,000.
25

26    Overt Act No. 7:     On or about February 10, 2015, Unindicted Co-

27    Conspirator #1 sent to defendant GHANEM via e-mail a copy of a

28
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 1   bank transfer reflecting a payment of $398,000 from Gateway to

 2   MENA to Company A on invoice number 06022.

 3
     Overt Act No. 8:     On or about February 17, 2015, Unindicted Co-
 4
     Conspirator #3 sent to defendant GHANEM an e-mail about the
 5
     status of defendant GHANEM's request for defense articles and
6
     defense services, including Igla surface-to-air missile
 7
     operators.
 8

 9   Overt Act No. 9:     On or about March 9, 2015, defendant GHANEM

10   sent to Unindicted Co-Conspirator #4 a message stating that

11   defendant GHANEM was looking for individuals to operate Igla
12
     surface-to-air missiles in Libya, and to train other fighters in
13
     the operation of the Igla missile system.         Defendant GHANEM
14
     further stated that the Igla operators/trainers would be
15
     deployed for two months, but that if they managed to shoot down
16

17   a plane, they could go home immediately.

18   Overt Act No. 10:     On or about March 30, 2015, defendant GHANEM

19   sent to a prospective buyer an e-mail containing materials

20
     offering to provide certain enumerated defense articles,
21
     including eight Strela surface-to-air missile launchers and 400
22
     I Strela surface-to-air missiles.
23
     Overt Act No. 11:     On or about April 3, 2015, Unindicted Co-
24
     Conspirator #3 sent to defendant GHANEM an e-mail noting Gateway
25

26   to MENA's payment of $398,000 and referencing defendant GHANEM's

27   purchase of defense articles and defense services, including the

28   salary for Igla surface-to-air missile operators.

                                         39
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 1   Overt Act No. 12:     On or about April 5, 2015, Unindicted Co-

 2   Conspirator #3 sent to defendant GHANEM an e-mail referencing
 3
     their agreement that Unindicted Co-Conspirator #3 would provide
 4
     I to defendant GHANEM defense services including three Igla
 5
     surface-to-air missile operators by April 14, 2015, including
 6
     one specialist on armament who would provide mechanical
 7
     services.
 8 (

 9   Overt Act No. 13:     On or about April 5, 2015, defendant GHANEM

10   sent to Unindicted Co-Conspirator #3 an e-mail clarifying

11   defendant GHANEM's understanding of the terms of his agreement
12
     to purchase defense articles and defense services, including
13
     defendant GHANEM's agreement to pay the operator of an Igla
14
     surface-to-air missile a bonus of $50,000 for each plane shot
15
     down.
16

17   Overt Act No. 14:     On or about April 12, 2015, defendant GHANEM

18   forwarded to himself an e-mail addressed to Unindicted Co-

19   Conspirator #3 replying to Unindicted Co-Conspirator #3's April

20
     8, 2015 offer to provide defense articles including ammunition,
21
     23-millimeter guns, and containers for 23-millimeter guns.            In
22
     this reply, defendant GHANEM indicated that before moving ahead
23
     with a new purchase for defense articles, defendant GHANEM
24
     wished to clarify the terms of his pending purchase of defense
25

26   articles and defense services from Unindicted Co-Conspirator #3

27   including the salary for Igla surface-to-air missile operators

28 l and trainers.

                                         40
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 1   Overt Act No. 15:     On or about April 21, 2015, Unindicted Co-

 2   Conspirator #3 sent to defendant GHANEM an e-mail detailing
 3
     defendant GHANEM's purchase of defense articles and defense
 4
     services from Unindicted Co-Conspirator #3, including the salary
 5
     for Igla surface-to-air missile operators and trainers.
 6
     Overt Act No. 16:     On or about April 21, 2015, defendant GHANEM
 7
     replied to Unindicted Co-Conspirator #3's April 21, 2015 e-mail
 8

 9   confirming the details of defendant GHANEM's purchase of defense

10   articles and defense services from Unindicted Co-Conspirator #3,

11   including the salary for Igla surface-to-air missile operators
12
     and trainers.
13
     Overt Act No. 17:     On or about April 27, 2015, defendant GHANEM
14
     sent to Unindicted Co-Conspirator #1 an e-mail containing the
15
     passport information for Unindicted Co-Conspirator #5 and
16

17   Unindicted Co-Conspirator #6, the Igla surface-to-air missile

18   operators and trainers whose services defendant GHANEM and

19   Unindicted Co-Conspirator #1 had purchased.

20
     Overt Act No. 18:     On or about April 28, 2015, Unindicted Co-
21
     Conspirator #1 sent to defendant GHANEM an e-mail containing a
22
     flight itinerary for travel by Unindicted Co-Conspirator #5, one
23
     of the Igla surface-to-air missile operators and trainers whose
24

25
     services defendant GHANEM and Unindicted Co-Conspirator #1 had

26   purchased, to Misurata, Libya, on April 30, 2015.

27   Overt Act No. 19:     On or about April 29, 2015, defendant GHANEM

28   sent to Unindicted Co-Conspirator #3 an e-mail containing an

                                         41
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 1   attached visa approval letter granting permission for Co-

 2   Conspirator #4, Co-Conspirator #5, and Co-Conspirator #6, to
 3
     travel to Misurata, Libya.
4
     Overt Act No. 20:     On or about June 3, 2015, Unindicted Co-
 5
     Conspirator #4 sent to defendant GHANEM an e-mail confirming
 6
     that Unindicted Co-Conspirator #5 and Unindicted Co-Conspirator
 7

 8   #6, the Igla surface-to-air missile operators and trainers whose

 9   services defendant GHANEM and Unindicted Co-Conspirator #1 had

10   purchased, remained on duty in Libya on that date.

11

12

13

14

15                                            A TRUE BILL

16
                                                          S
17
                                              Foreperso
18
     SANDRA R. BROWN
19   Acting United States Attorney

20                       . ~ ~~~=
21
     PATRICK R. FITZGERALD
22   Assistant United States Attorney
     Chief, National Security Division
23
     CHRISTOPHER GRIGG
24   Assistant United States Attorney
     Chief, Terrorism and Export Crimes Section
25
     MELISSA MILLS
26   Assistant United States Attorney
     Terrorism and Export Crimes Section
27

28

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